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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-01342-RM-STV

  WILDEARTH GUARDIANS,
  SIERRA CLUB,
  CENTER FOR BIOLOGICAL DIVERSITY,
  and
  HIGH COUNTRY CONSERVATION ADVOCATES,

          Plaintiffs,

  v.

  MOUNTAIN COAL COMPANY, and
  ARCH RESOURCES, INC.,

         Defendants.
    ___________________________________________________________________________

             JOINT MOTION TO LODGE AND ENTER CONSENT DECREE
    ___________________________________________________________________________


          Plaintiffs WildEarth Guardians, Sierra Club, Center for Biological Diversity, and High

  Country Conservation Advocates (“Plaintiffs”) and Defendants Mountain Coal Company and

  Arch Resources, Inc. (“Defendants”) (jointly, “the Parties”) respectfully move to lodge the

  attached Consent Decree with the Court for later entry in accordance with the following

  paragraph of this joint motion. The Consent Decree represents a negotiated settlement of all

  claims presented by Plaintiffs against Defendants in this case without any admission of liability

  by Defendants. The parties represent that the settlement terms are appropriate, reasonable, and

  in the public interest.

          Under Section 304(c)(3) of the Clean Air Act, the United States has forty-five (45) days

  from receipt of the proposed consent judgment by the Attorney General and U.S. Environmental

  Protection Agency Administrator to review the proposed consent judgment and provide any



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  comments to the Court. 42 U.S.C. § 7604(c)(3). Pursuant to Section 304(c)(3), Plaintiffs will

  promptly serve the United States and promptly notify the Court once the United States confirms

  receipt of service. At the conclusion of that review period, the parties jointly request that the

  Court enter the Consent Decree.



  Respectfully submitted this 23rd day of November, 2021.

  /s/ Daniel Timmons
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on November 23, 2021 I electronically transmitted the Parties’
  JOINT MOTION TO LODGE AND ENTER CONSENT DECREE to the Clerk’s Office
  using the CM/ECF System for filing and service on all registered counsel.

  /s/ Daniel Timmons
  Daniel Timmons




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